     Case: 1:07-cv-00153 Document #: 1 Filed: 01/09/07 Page 1 of 1 PageID #:1




DOCUMENT NOT IMAGED DUE TO ONE OR MORE REASONS LISTED BELOW:



      9         TOO VOLUMINOUS


      9         TRANSCRIPT


      9
      ✔         QUALITY NOT LEGIBLE


      9         FONT TOO SMALL


      9         PHOTOGRAPHS


      9         OTHER _____________________________________________________


TO VIEW THE DOCUMENT YOU MUST OBTAIN THE CASE FILE AT THE

CLERK’S OFFICE. THE CLERK’S OFFICE IS OPEN FROM 8:30 AM. TO 4:30 PM.

MONDAY THROUGH FRIDAY EXCEPT FOR LEGAL HOLIDAYS. TO OBTAIN A

COPY YOU CAN CALL THE CLERK’S OFFICE SERVICE CENTER AT

312-435-5699.
